        Case 1:23-mj-05013-JGD Document 8 Filed 01/27/23 Page 1 of 15

                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE


UNITED STATES OF AMERICA

v.                                                     Case No.: 1:23−mj−00031−SKL

ADIANA PIERRE



                                                  ORDER



     The Court finds that defendant, Adiana Pierre, does not have the funds to retain an attorney of
defendant's choice and that defendant wants to be represented by counsel. As a condition of the appointment
of counsel to represent defendant, the Court reserves the right to require the defendant to repay the
government the reasonable value of the services rendered to defendant by the appointed counsel and any
expenses in connection therewith. Accordingly, it is ORDERED the following counsel will be appointed to
represent defendant:


Paul Bergmann, III
Paul Bergmann, III, Attorney at Law
633 Chestnut Street
Suite 1620
37450, Suite 1620
Chattanooga, TN 37450

423−756−3245



ENTER.

                                                 s/Susan K Lee
                                                 UNITED STATES MAGISTRATE JUDGE




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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA

v.                                                        Case No.: 1:23−mj−00031−SKL

ADIANA PIERRE


                                DUE PROCESS PROTECTIONS ACT ORDER

     Pursuant to the Due Process Protections Act, the Court confirms the United States' obligation to

produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963)

and its progeny, and orders it to do so. Failing to do so in a timely manner may result in consequences,

including, but not limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, or sanctions by the Court.




ENTER.

                                               s/ Susan K Lee
                                               UNITED STATES MAGISTRATE JUDGE




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                 U.S. DISTRICT COURT for the EASTERN DISTRICT OF TENNESSEE at CHATTANOOGA


 ✔ Initial Appearance ____ Complaint
___                                                             ___ Preliminary Exam      ___ Motion Hearing
         ___ Indictment ___ SSI ___ Information                 ___ Detention Hearing      ✔ Bond Hearing
                                                                                          ___
___ Petition for Probation/Supervised Release action            ___ Arraignment           ___ Arraignment on SSI


         1:23-mj-31                         Adiana Pierre
Case No._____________________________ USA v.___________________________________________________________

                       Susan K. Lee
PRESENT: Honorable__________________________________________________                                 ✔
                                                                         ____U.S. District Judge OR ___U.S. Magistrate Judge
James Brooks
____________________________________
                                     Paul Bergmann
                                     ____________________________________
                                                                             Jennifer LaFerry
                                                                            ______________________________________
Assistant U.S. Attorney                     Attorney for Defendant                        Probation Officer
                                             ____ Appt. ____ Retd ____ Ltd. App.
Courtney Camp
____________________________________        ____________________________________         ______________________________________
Courtroom Deputy                            Court Reporter                                Interpreter(s)  ______ SWORN

                                               ✔
Digital Recording: Crtrm 1B________ OR Crtrm 4 ________

PROCEEDINGS: _____
                ✔ DEFENDANT(S) SWORN                                     DATES SET:

____   ✔ Financial affidavit(s) executed                        Detention hearing: ________________________________
____   ✔ Court appointed attorney(s) under CJA
____     Court may require deft(s) repay govt cost of atty(s)   Preliminary exam:    waived
                                                                                     ________________________________
____     Defendant(s) waived appointment of attorney(s)
____   ✔ Defendant(s) specifically advised of rights            Revocation hearing: ________________________________
____     Deft advised of Rules 20, 5 FRCrP
____   ✔ Deft executed waiver of Rule 5, 5.1 hearing            Arraignment:         ________________________________
____     Deft waived reading of indictment/information
____     Indictment/Information read                            OTHER:               ________________________________
____     Deft pleads not guilty to counts_________________
____     Not guilty plea entered by Court on deft’s behalf
____     Deft. entered no plea


Court ordered file _____ sealed OR _____ unsealed

TESTIM ONY BY: __________________________________________________________________________________________

OTHER M ATTERS:

  Rule 5 Out Initial Appearance held. Paul Bergmann will communicate with counsel in the charging
  district to arrange coordination of further proceedings.
___________________________________________________________________________________________________________


  I, Courtney Camp, Deputy Clerk, CERTIFY the official record of this proceeding is an audio file
___________________________________________________________________________________________________________
  Chat 1-23-mj-31_20230125_135456
___________________________________________________________________________________________________________
BOND
____   Govt. motion for detention without bond: ___ granted ___ denied
____ ✔ Court ordered deft released on bond (see order setting conditions of release)
         $30,000
Amount:_____________________________                         O/R
                                                       Type: _________________________________

____     Defendant ineligible for release on bond:___________________________________________________________________

         ✔
Deft ______remanded to custody of U.S. Marshal ______remained in custody ______remained on bond ______ released on bond


     2:26-2:50
Time:_______________to 3:17-4:00
                       ________________
                                                                                        1/25/23
                                                                                   Date:_____________________________
                                                                                                                          rev 3/09

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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA


UNITED STATES OF AMERICA                            )
                                                    ) EDTN Arresting Dist No. 1:23-mj-031-SKL
        v.                                          ) Dist. Mass. Chrg. Dist. No. 1:23-mj-05013-JGD
                                                    )
ADIANA PIERRE                                       )

                                                  ORDER

    The Court finds that defendant, ADIANA PIERRE, does not have the funds to retain an

attorney of her choice and that defendant wants to be represented by counsel. Accordingly, it is

ORDERED the following counsel will be appointed to represent the defendant in this District:

                     Paul Bergmann , III
                     633 Chestnut Street
                     Suite 1620
                     37450, Suite 1620
                     Chattanooga, TN 37450
                     423-756-3245
                     Fax: 423-267-0126
                     Email: pb3@epbfi.com

    ENTER.

                                           s/ Susan K. Lee
                                           SUSAN K. LEE
                                           UNITED STATES MAGISTRATE JUDGE




1 łŴġŢġŤŰůťŪŵŪŰůġŰŧġŵũŦġŢűűŰŪůŵŮŦůŵġŰŧġŤŰŶůŴŦŭġŵŰġųŦűųŦŴŦůŵġŵũŦġťŦŧŦůťŢůŵĭġŵũŦġńŰŶųŵġųŦŴŦųŷŦŴġŵũŦġųŪŨũŵġŵŰġųŦŲŶŪųŦġ
ŵũŦġťŦŧŦůťŢůŵġŵŰġųŦűŢźġŵũŦġŨŰŷŦųůŮŦůŵġŵũŦġųŦŢŴŰůŢţŭŦġŷŢŭŶŦġŰŧġŵũŦġŴŦųŷŪŤŦŴġųŦůťŦųŦťġŵũŦġťŦŧŦůťŢůŵġţźġũŦųġ
ŢűűŰŪůŵŦťġŤŰŶůŴŦŭġŢůťġŢůźġŦŹűŦůŴŦŴġŪůġŤŰůůŦŤŵŪŰůġŵũŦųŦŸŪŵũį




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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA


UNITED STATES OF AMERICA                    )
                                            ) EDTN Arresting Dist No. 1:23-mj-031-SKL
                                            )
       v.                                   ) Dist. of Mass. Chrg. Dist. No. 1:23-mj-05013-JGD
                                            )
                                            )
ADIANA PIERRE                               )


                               MEMORANDUM AND ORDER

        The Defendant appeared for a hearing before the undersigned on January 25, 2023, in
accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure for an initial
appearance of the Defendant on an arrest warrant and criminal complaint out of the U.S.D.C.,
District of Massachusetts, Boston, Massachusetts. Those present for the hearing included:

              (1)     AUSA James Brooks for the USA.
              (2)     The Defendant, ADIANA PIERRE.
              (3)     Attorney Paul Bergmann, III as appointed counsel for
                      Defendant.

        After being sworn in due form of law, the Defendant was informed or reminded of her
privilege against self-incrimination accorded her under the 5th Amendment to the United States
Constitution. Attorney Bergmann was present as court appointed counsel in the arresting district.

        The Defendant had been provided with a copy of the arrest warrant and criminal complaint
and attached affidavit and had the opportunity of reviewing those documents with her attorney.
It was determined Defendant was capable of being able to read and understand the copy of the
aforesaid documents she had been provided.

       AUSA Brooks stated the government is not seeking the detention of Defendant who was
released on an unsecured $30,000 Appearance Bond and other conditions of release. Defendant
was advised of her rights pursuant to Rule 20 of the Federal Rules of Criminal Procedure. The
Defendant waived any preliminary hearing or identity hearing in this or the charging district.

       It is ORDERED:

       (1) Defendant shall be released with conditions of release and shall appear as
       directed by the Probation Offices/Officers in the arresting and charging
       Districts with coordination by appointed counsel in the arresting and charging




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    Districts with Magistrate Judge Judith Gail Dein, in U.S.D.C., District of
    Massachusetts, Boston.


    SO ORDERED.

    ENTER:

                                     s/  Susan K. Lee
                                     SUSAN K. LEE
                                     UNITED STATES MAGISTRATE JUDGE




                                        2




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